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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §           NO. 105CR136-5
                                                §
JANNA NICOLE HELMICH                            §


            MEMORANDUM ORDER ADOPTING THE MAGISTRATE JUDGE'S
                     REPORT AND RECOMMENDATION


       The court heretofore ordered that this matter be referred to the Honorable Earl S. Hines,

United States Magistrate Judge, at Beaumont, Texas, for consideration pursuant to applicable laws

and orders of this court. The court has received and considered the Report of the United States

Magistrate Judge filed pursuant to such order, along with the record, pleadings and all available

evidence.


       At the close of the revocation hearing, defendant, defense counsel and counsel for the

government, each signed a standard form waiving their right to object to the proposed findings and

recommendations contained in the magistrate judge's report, consenting to revocation of supervised

release and imposition of the sentence recommended therein. Defendant also waived their right to

be present with counsel and to speak at sentencing.


       Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

and the report of the magistrate judge is ADOPTED. It is therefore


       ORDERED and ADJUDGED that the petition is GRANTED and defendant's supervised
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release is REVOKED. Judgment and commitment will be entered separately, in accordance with

the magistrate judge’s recommendations.


       SIGNED this the 17 day of February, 2011.




                                   ____________________________
                                   Thad Heartfield
                                   United States District Judge
